Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 1 of 11




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

   WEIZMAN FL PROPERTIES, LLC,
   a Florida limited liability company,

          Plaintiff,                                            CASE NO.: 1:22-cv-23362-KMW

   v.

   MICHAEL MARANDA, an individual,

          Defendant.
                                                 /

                      PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT
               FINAL JUDGMENT AGAINST DEFENDANT MICHAEL MARANDA

          Plaintiff, WEIZMAN FL PROPERTIES, LLC (“Plaintiff”), pursuant to Federal Rule of

   Civil Procedure 55, Local Rule 7.1 and this Court’s Order requiring Plaintiff to file this motion by

   March 15, 2023 [D.E. 16], moves for the entry of default final judgment against Defendant,

   Michael Maranda (“Defendant”). In support, Plaintiff states:

                                          Procedural History

          1.      On October 14, 2022, Plaintiff filed its Complaint [D.E. 1] against Defendant.

          2.      On November 2, 2022, Plaintiff filed its Amended Complaint [D.E. 9] as a matter

   of course pursuant to Federal Rule of Civil Procedure 15(a)(1), and added a count for civil theft.

          3.      On December 22, 2022, in response to this Court’s December 12, 2022 Order

   requiring service of process by January 12, 2023 [D.E. 11], Plaintiff filed a Motion for

   Enlargement of Time to Effectuate Service of Process [D.E. 12] detailing the significant efforts it

   had undertaken to try to serve Defendant. This Court, finding good cause shown for the requested

   extension, granted Plaintiff’s Motion on December 28, 2022 [D.E. 13], and required service of

   process by April 12, 2023.
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 2 of 11




          4.      On January 19, 2023, service of process was obtained on Defendant pursuant to

   Federal Rule of Civil Procedure 4(e)(1) and New York Civil Practice Law and Rules 308. Plaintiff

   filed the Affidavit of Service [D.E. 14] on January 27, 2023.

          5.      Defendant was required, yet failed, to file a written response to the Amended

   Complaint by February 9, 2023 pursuant to Federal Rule of Civil Procedure 12.

          6.      On February 13, 2023, this Court entered an Order directing the Clerk to enter a

   default and requiring Plaintiff to file a motion for final default judgment by March 15, 2023 [D.E.

   15].

          7.      On February 13, 2023, the Clerk entered a default against Defendant [D.E. 16].

                                         Memorandum of Law

      A. Applicable Principles and Law

          8.      Rule 55 of the Federal Rule of Civil Procedure sets forth a two-step process for a

   Plaintiff to obtain a default judgment. First, when a defendant fails to plead or otherwise defend a

   lawsuit, the clerk must enter a default. See Fed. R. Civ. P. 55(a). Second, after entry of the clerk’s

   default, the Court may enter default judgment against the defendant, so long as the defendant is

   not an infant or incompetent. See Fed. R. Civ P. 55(b)(2). “The effect of a default judgment is that

   the defendant admits the plaintiff’s well-pleaded allegations of fact, is concluded on those facts by

   entry by the judgment, and is barred from contesting on appeal the facts thus established.”

   Buchanan v. Bowman, 820 F.2d 359, 361 (11th Cir. 1987) (internal quotation and citation omitted).

          9.      The Court may award damages where the record adequately reflects the basis for

   the award, which can be shown with submission of affidavits. See Adolph Coors Co. v. Movement

   Against Racism and the Klan, 777 F.2d 1538, 1544 (11th Cir. 1985). Rule 55 does not require an




                                                     2
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 3 of 11




   evidentiary hearing on the appropriate amount of damages. See SEC v. Smyth, 420 F.3d 1225, 1232

   n. 13 (11th Cir. 2005).

      B. Analysis

          10.     Plaintiff’s Amended Complaint includes counts against the Defendant for Breach

   of Contract (Count I), Fraud (Count II), Conversion (Count III), and Civil Theft pursuant to Florida

   Statutes § 772.11 (Count IV) stemming from a failed real estate transaction.

          11.     As alleged in the Amended Complaint, Defendant duped Plaintiff into paying

   Defendant over $500,000.00 for a commercial property that Defendant was already under contract

   to sell to another prospective buyer and to which he knowingly could not convey clear title. See

   Am. Compl. ¶ 1. Defendant had refused to return the purchase price to Plaintiff and Defendant

   sold the Property to the prior contract purchaser leaving Plaintiff without its money and without

   the property it contracted to purchase. More specifically, as alleged in the Amended Complaint,

   and supported by the Affidavit of Plaintiff’s Manager, Jonathan Weizman (the “Weizman

   Affidavit”) [D.E. 17], the following underlying facts give rise to the claims at issue.

                       i. Facts Alleged in Complaint and Supported by Weizman Affidavit.

          12.     On April 29, 2022, Plaintiff and Defendant entered into a Commercial Contract (the

   “Contract”) whereby Plaintiff agreed to buy and Defendant agreed to convey commercial property

   located at 2375 N.W. 70 Avenue, Unit B8, Miami, Florida 33122 (the “Property”) for a purchase

   price of $525,000.00. See Am. Compl. ¶¶ 7, 8; Weizman Aff. ¶ 11.

          13.     Closing occurred on May 13, 2022. See Am. Compl. ¶ 9; Weizman Aff. ¶ 12.

          14.     In connection with the closing, Defendant delivered, among other documents, a No

   Lien, Possession and Gap Affidavit (the “Affidavit”). In the Affidavit, Defendant represented,

   among other things, that Defendant had “not executed any contracts for sale affecting the Property


                                                    3
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 4 of 11




   which is currently effective except for” the Contract between Plaintiff and Defendant. Defendant

   further represented that there were “no matters pending against” Defendant that “could give rise

   to a lien that would attach to the Property or would adversely affect the title to the Property or

   [Defendant’s] ability to close on the sale of the Property . . .” Plaintiff reasonably and justifiably

   relied on the statements made by Defendant in the Affidavit. The statements made by Defendant

   in the Affidavit were false when made. See Am. Compl. ¶¶ 10, 11; Weizman Aff. ¶ 13

          15.     Defendant also delivered to Plaintiff a Warranty Deed on the Closing Date. In the

   Warranty Deed, Defendant covenanted that he had lawful authority to sell and convey the Property,

   warranted title to the Property, and agreed to defend the title against lawful claims of other persons.

   Defendant did not, in fact, have lawful authority to sell and convey the Property to Plaintiff on the

   Closing Date. See Am. Compl. ¶ 12; Weizman Aff. ¶ 14.

          16.     On May 13, 2022, Plaintiff wired the net sales proceeds to Defendant in the amount

   of $518,865.23(the “Sales Proceeds”). See Am. Compl. ¶ 13; Weizman Aff. ¶ 15.

          17.     After the Closing Date, and after Defendant accepted the Sales Proceeds, Plaintiff,

   through its agent, discovered before recording the Warranty Deed that an action for specific

   performance had been filed against Defendant in the Eleventh Judicial Circuit in and for Miami-

   Dade County, Florida and a Notice of Lis Pendens had been recorded in the Miami-Dade County,

   Florida Public Records against the Property by another purchaser (the “Prior Contract Purchaser”)

   to whom Defendant had contracted to sell. See Am. Compl. ¶ 14; Weizman Aff. ¶ 16.

          18.     According to the action filed by the Prior Contract Purchaser, Defendant had

   entered into a contract to sell the Property to the Prior Contract Purchaser on April 11, 2022 for a

   purchase price of $250,000.00, and with a scheduled closing date of May 2, 2022. The records

   filed in the action filed by the Prior Contract Purchaser make clear that on April 28, 2022, the same


                                                     4
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 5 of 11




   day that Defendant signed the Contract with Plaintiff to sell the Property for more than double the

   amount he was under contract for with the Prior Contract Purchaser, Defendant advised the Prior

   Contract Purchaser by email that “[f]or personal reasons [Defendant] cannot sell the property[.]”

   See Am. Compl. ¶¶ 15, 16; Weizman Aff. ¶ 17.

          19.     On May 4, 2022, ten (10) days before the Closing Date with Plaintiff and accepting

   the Sales Proceeds wired by Plaintiff, the Prior Contract Purchaser filed his action and recorded a

   Notice of Lis Pendens against the Property. See Am. Compl. ¶ 17; Weizman Aff. ¶ 18.

          20.     Upon information and belief, Defendant was aware of the action filed by the Prior

   Contract Purchaser and the recording of the Notice of Lis Pendens prior to Defendant accepting

   Plaintiff’s Sales Proceeds on May 13, 2022. See Am. Compl. ¶ 18; Weizman Aff. ¶ 19.

          21.     The Prior Contract Purchaser resolved his action against Defendant through

   settlement, which included the conveyance of the Property to the Prior Contract Purchaser via

   Warranty Deed recorded on July 15, 2022, the filing of a Notice of Voluntary Dissolution of Lis

   Pendens on July 19, 2022, and the filing of a Notice of Voluntary Dismissal With Prejudice on

   September 27, 2022. See Am. Compl. ¶ 19; Weizman Aff. ¶ 20.

          22.     Plaintiff has made repeated demands on Defendant to return the Sales Proceeds.

   See Am. Compl. ¶ 20; Weizman Aff. ¶ 21.

          23.     Defendant continues to wrongfully retain the Sales Proceeds. See Am. Compl. ¶ 21;

   Weizman Aff¶ 22.

          24.     Defendant pocketed at least $250,000.00 from the sale of the property to the Prior

   Contract Purchaser, and continues to wrongfully retain Plaintiff’s $518,865.23 of Sales Proceeds

   for a Property that he could not validly convey to Plaintiff. See Am. Compl. ¶ 22; Weizman Aff. ¶

   23.


                                                   5
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 6 of 11




                          ii.    Damages.

           25.     Plaintiff seeks the entry of a final default judgment against Defendant for (i) treble

   damages under the civil theft statute in the amount of $1,556,595.69 (i.e., the Sales Proceeds

   ($518,865.23) it paid for the Property x 3), (ii) reasonable attorneys’ fees, and (iii) taxable costs it

   incurred in connection with this action.

           26.     Plaintiff is entitled to its attorneys fees and costs as the prevailing party under the

   Contract, see Exh. A. to Am. Compl. (¶ 15: “In any claim or controversy arising out of or relating

   to this Contract, the prevailing party . . . will be awarded reasonable attorneys’ fees, costs, and

   expenses”), and under Florida’s Civil Theft Statute. See Fla. Stat. § 772.11(1) (a party who prevails

   under the civil theft statute is entitled to “reasonable attorney’s fees and court costs in the trial and

   appellate courts.”).

           27.     Counsel for Plaintiff, Steven M. Appelbaum, Esq., has filed contemporaneously

   with this motion an affidavit setting for the reasonable attorneys’ fees and costs incurred by

   Plaintiff in connection with this dispute.

                          iii.   Defendants Pleads The Fifth Amendment In Still-Pending New
                                 York Litigation

           28.     After discovering the action filed by the Prior Contract Purchaser, Plaintiff learned

   that Defendant is no stranger to the legal system and that this is not the first case where Defendant

   is alleged to have breached a contract, and committed fraud and conversion. See Weizman Aff. ¶

   25.

           29.     On May 10, 2022, three days before Plaintiff wired the Sales Proceeds to

   Defendant, Defendant was sued in New York by Bitcoin mining companies alleging, among other

   things, that Defendant converted tens of millions of dollars’ worth of Bitcoin mining equipment.

   Id. ¶ 26.

                                                      6
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 7 of 11




          30.     In that case, after Plaintiffs repeatedly moved to compel Defendant to appear for

   deposition, Defendant sought to avoid a deposition by asserting his Fifth Amendment right against

   self-incrimination. However, on February 3, 2024, the Court, among other things, compelled

   Defendant to appear for deposition on February 7, 2023, reasoning that Defendant “cannot refuse

   to sit for an examination before trial by asserting his Fifth Amendment rights bust must instead

   assert his privilege at the deposition.” Id. ¶ 27.

          31.     After entry of that Order, Defendant remotely appeared for deposition and, upon

   information and belief, asserted his Fifth Amendment right against self-incrimination to virtually

   every question. Id. ¶ 28.

      C. Breach of Contract

          32.     “For a breach of contract claim, Florida law requires the plaintiff to plead and

   establish: (1) the existence of a contract; (2) a material breach of that contract; and (3) damages

   resulting from the breach.” Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1272 (11th Cir. 2009).

          33.     Plaintiff and Defendant entered into a written Contract whereby Plaintiff agreed to

   pay an agreed upon purchase price and Defendant agreed, among other things, to convey

   marketable title to the Property free of liens, easements, and encumbrances of record. See Am.

   Compl. ¶¶ 7, 8, 27.

          34.     Defendant materially breached the written Contract by failing to deliver fee simple

   title to the Property free of liens, easements and encumbrances of record. Id. at ¶¶ 14, 17, 28.

          35.     As a direct result of Defendant’s material breach of the written Contract, Plaintiff

   has suffered damages, including the $518,865.25 of sales proceeds paid to Defendant that

   Defendant refuses to return, and attorneys’ fees and costs incurred in connection with this dispute.

   Id. at ¶¶ 13, 20-22, 30-31.


                                                        7
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 8 of 11




          36.       Plaintiff has pleaded all required elements of a breach of contract claim, which

   Defendant is deemed to have admitted as a matter of law based on the entry of default against him.

      D. Fraud

          37.       To prove common law fraud under Florida law, the plaintiff must show: (1) the

   defendant made a false statement or omission of material fact; (2) the defendant knew the statement

   was false; (3) the statement was made for the purpose of inducing plaintiff to rely on it; (4)

   plaintiff’s reliance was reasonable; and (5) plaintiff suffered damages. Broadway Gate Master

   Fund, Ltd. v. Ocwen Fin. Corp., 2016 WL 9413421, at *3 (S.D. Fla. June 29, 2016) (J.

   Dimitrouleas).

          38.       Common law fraud is subject to the heightened pleading requirements under

   Federal Rule of Civil Procedure 9(b), which requires Plaintiff to allege (1) the precise statements,

   documents, or misrepresentations made; (2) the time, place, and person responsible for the

   statement; (3) the content and manner in which these statements misled the Plaintiffs; and (4) what

   the defendants gained by the alleged fraud. Brooks v. Blue Cross & Blue Shied of Fla., Inc., 116

   F.3d 1364, 1380-81 (11th Cir. 1997).

          39.       Plaintiff alleged the required elements with sufficient specificity. Plaintiff alleges

   that Defendant “knowingly and intentionally misrepresented” several material facts that Plaintiff

   reasonably and detrimentally relied upon to induce Plaintiff to wire sales proceeds to Defendant

   in the amount of $518,865.23. See Am. Compl. at ¶¶ 33-38. The Amended Complaint includes

   specific dates and references to specific statements in specific documents that Plaintiff reasonable

   relied upon. Id.

          40.       Defendant’s scheme surrounding the sale (i.e., knowingly going through with the

   sale to Plaintiff because he knew he could get double the price, all while knowing that the Prior


                                                      8
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 9 of 11




   Contract Purchaser had asserted his rights to purchase the Property) goes beyond merely breaching

   the Contract by failing to convey clear title.

          41.     Plaintiff has met the heightened pleading standard and pleaded all required

   elements of a common law fraud claim, which Defendant is deemed to have admitted as a matter

   of law based on the entry of default against him.

      E. Conversion

          42.     Under Florida law, the elements of conversion are “(1) an act of dominion

   wrongfully asserted; (2) over another’s property; and (3) inconsistent with his ownership therein.”

   Special Purpose v. Prime One, 125 F. Supp. 2d 1093, 1099-1100 (S.D. Fla. 2000). Money can be

   a proper “subject of conversion so long as it consists of specific money capable of identification.”

   Belford Trucking Co. v. Zagar, 243 So. 2d 646, 648 (Fla. 4th DCA 1970). “Money is capable of

   identification where it is delivered at one time, by one act and in one mass, or where the deposit is

   special and the identical money is to be kept for the party making the deposit, or where wrongful

   possession of such property is obtained.” Id. (emphasis added).

          43.     Plaintiff alleges that Defendant misappropriated a specific sum of money

   ($518,865.23) that was wired on a specific date (May 13, 2022), and that Defendant refused to

   return the misappropriated funds after he failed to deliver clear title. See Am. Compl. at ¶¶ 13, 40.

          44.     Defendant then went a further Astep to sell the Property to the prior contract

   purchaser and accept additional funds ($250,000.00) from the Prior Contract Purchaser for the

   same Property that Plaintiff had paid to acquire. Id. ¶¶ 14, 19, 22.

          45.     Plaintiff is left without the Property it contracted to purchase and without the Sales

   Proceeds that Defendant converted.




                                                     9
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 10 of 11




            46.    Plaintiff pleaded all required elements of a common law fraud claim, which

   Defendant is deemed to have admitted as a matter of law based on the entry of default against him.

       F. Civil Theft

            47.    “Under Florida law, a cause of action for civil theft ‘derives from two statutory

   sources: the criminal section setting forth the elements of theft, and the civil section granting

   private parties a cause of action for a violation of the criminal section.’” Palmer v. Gotta Have it

   Golf Collectibles, Inc., 106 F. Supp. 2d 1289, 1303 (S.D. Fla. 2000), quoting Ames v. Provident

   Life and Accident Ins. Co., 942 F. Supp. 551, 560 (S.D. Fla. 1994), aff’d 86 F.3d 1168 (11th Cir.

   1996).

            48.    “To establish a claim for civil theft, [Plaintiff] must show that [Defendant]

   knowingly obtained or used, or endeavored to obtain or to use, [Plaintiff’s] property with the intent

   to, either temporarily or permanently, deprive [Plaintiff] of a right to the property or a benefit from

   the property, or appropriate the property to [Defendant’s] own use or to the use of any person not

   entitled to use the property. Palmer, 106 F. Supp. 2d at 1303, citing Fla. Stat. § 812.014(1).

            49.    Plaintiff alleges that Defendant willfully and knowingly, and with felonious and

   criminal intent, misappropriated Plaintiff’s money for his own use by accepting and retaining the

   sales proceeds for the Property that Defendant could not validly convey to Plaintiff. See Am.

   Compl. at ¶¶ 46-51.

            50.    Defendant has refused to return the Sales Proceeds and cannot convey clear title to

   the Property because he no longer owns it since he conveyed it to the Prior Contract Purchaser.

            51.    Plaintiff, pursuant to Fla. Stat. § 772.11(1) sent Defendant a written demand for the

   treble damages amount, but Defendant failed to respond or otherwise comply with the statute’s

   thirty (30) day deadline. Id. at ¶ 52.


                                                     10
Case 1:22-cv-23362-KMW Document 17 Entered on FLSD Docket 03/13/2023 Page 11 of 11




                                              Conclusion

          WHEREFORE, Plaintiff, WEIZMAN FL PROPERTIES, LLC, respectfully requests the

   entry of a default final judgment against Defendant, MICHAEL MARANDA, together with such

   other and further relief this Court deems just and proper.

   Dated: March 13, 2023                         Respectfully submitted,


                                                 /s/ Steven M. Appelbaum
                                                 Steven M. Appelbaum
                                                 Florida Bar No. 71399
                                                 SAUL EWING LLP
                                                 701 Brickell Avenue, Suite 1700
                                                 Miami, Florida 33131
                                                 Telephone: (305) 428-4500
                                                 Facsimile: (305) 374-4744
                                                 steven.appelbaum@saul.com




                                                   11
